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                                                                               related DDJ


           1   ROBERT LACAMBRA                                               Oct. 6, 2021
no cv30        INDIGENT LITIGATOR
           2   NO CURRENT ADDRESS                                               DTA

               robertsjustice@live.com
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           9
                                     UNITED STATES DISTRICT COURT
          10
                          CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
          11

          12
               ROBERT LACAMBRA                    NO. 8:21-cv-01660-CAS-KES
          13
                              Plaintiff,                     VERIFIED COMPLAINT
          14                                                FOR DECLARATIVE AND
                     v.                                       INJUNCTIVE RELIEF
          15
               HOOVES LIQUOR STORE OF ORANGE           1. 42 USC § 1981(b)
          16   AND ROBERTO GONZALES                    2. Harassment
                                                       3. Intentional Interference With
          17                  Defendants.                 Contractual Relations
                                                       4. Breach of Contract
          18                                           5. Breach of Implied Covenant of
                                                          Good Faith and Fair Dealing
          19                                           6. Intentional Infliction of
                                                          Emotional Distress
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 1   1.     May it please the court, Plaintiff Robert Lacambra,

 2   hereinafter referred to as “ROBERT,” brings this civil action
 3   against “Hooves Liquor Store of Orange,” hereinafter referred to
 4   as “HOOVES” and Roberto Gonzales hereinafter referred to as
 5   “GONZALES” and collectively referred to as “DEFENDANTS.” ROBERT
 6   sues them individually and severally and seeks the court’s
 7   equitable powers to make available for him the opportunity to
 8   seek justice, to right a wrong and to heal. He alleges upon

 9   information and belief, except as to allegations against him, as
10   follows:
11

12                                   INTRODUCTION
13   2.     Does your workplace guarantee a safe, a clean and a decent
14   working environment?
15   3.     This is case about the much-desired ideal of a positive and

16   profanity-free workplace, particularly if the instrument of
17   harassment is a loud and boisterous sound system controlled by
18   the management of the company. ROBERT joined Hooves Liquor Store
19   as an evening stocker of their coolers. When he started, it was a
20   quiet and relaxing place to work, until the evening manager
21   installed a speaker near his workstation, and where his
22   preference for profanity-laced tirades by gansta rappers could

23   not be escaped. After complaining about the situation to the
24   owner/operator several times, his concerns were ignored.
25   4.     On December 16, 2020 three days after the death of his
26   mother, ROBERT confronted GONZALES (EXHIBIT A), the evening
27   manager. The profanity-laced music had been going on for the
28   entire evening, but it came to a head after the rapper blurted
                                           2
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 1   out the words “mother f*****n’” in the most irritating and

 2   provoking manner. It touched a raw nerve only four days after
 3   ROBERT’s mother’s passing. The final conversation that evening
 4   sought the night manager to decide between ROBERT continuing his
 5   shift or him continuing with his filthy music. The manager chose
 6   the music, essentially terminating ROBERT.
 7   5.     ROBERT made an agreement with HOOVES, rearranging his life
 8   to meet his obligation. But just yesterday (the 5th of October),

 9   the owner/operator (EXHIBIT B) asked him to remove his

10   vehicles (EXHIBIT C) from the parking lot on Monday the 11th of

11   October. Otherwise, it will be towed away. The complications

12   include the fact that ROBERT is homeless, and his vehicles are

13   his abode. The unfair termination and the threat of having his

14   vehicles towed away breaks a promise made to each other. For

15   ROBERT, unless the court intervenes, the consequences of what may

16   happen next is irreparable harm. His vehicles are inoperable and
17   unregistered. Removing it from a private lot will certainly mean
18   sleeping on the streets that evening.

19

20                              JURISDICTION & VENUE

21   6.     This US District Court, Central District of California has

22   subject matter jurisdiction over this action pursuant to 28 USC §

23   1343(3) in particular because of violations of the US

24   Constitution and federal statutes, specifically 42 USC § 1981 –

25   equal rights under the laws, and specifically to make and enforce

26   contracts.
27   7.     The US District Court, Central District of California has

28   supplemental jurisdiction over this action pursuant to 28 USC §
                                           3
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 1   1367, where the violations of state cause of action are

 2   so inextricably linked with all other violations alleged.
 3   8.     The US District Court, Central District of California has
 4   jurisdiction over this case because of the unavailability of the
 5   state courts. On motion by the OC Sheriff’s Department to evade
 6   discovery requests, he was determined by the Superior Court as a
 7   Vexatious Litigant and effectively barred from filing cases
 8   there.

 9   9.     Furthermore, DEFENDANTS conduct their business in the City
10   of Orange where Hooves Liquor Store is located. DEFENDANTS have
11   had sufficient contact in this district that the exercise of
12   jurisdiction would be consistent with traditional notions of fair
13   play and substantial justice.
14

15                          THE PARTIES TO THIS ACTION

16                                    PLAINTIFF
17   10.      ROBERT is a homeless litigator/advocate currently residing
18   in the City of Orange. He founded the organization
19   @RobertsJustice for the expressed purpose of bringing to the
20   social consciousness the paradox of American justice. After
21   living on the streets/vehicle for more than a decade, he has
22   reached the conclusion, in complete deference to the words of

23   Ronald Regan, that "Government is the problem." He has worked to
24   make justice available to those of limited means, power and
25   influence. He also seeks to amplify the voices of those who are
26   aggrieved yet rendered weak by their economic condition.
27   11.      As a concurrently filed "Motion Request To Proceed In Forma
28   Pauperis" shows, ROBERT lives on an income of about $4,400 per
                                           4
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 1   year. In a legal fight against taxpayer funded entities, wealthy

 2   corporations and rich individuals such as he finds himself in
 3   this case, ROBERT is at an extreme disadvantage. Hence, he pleads
 4   for the court's equitable powers to provide for him, and no less
 5   to others like him, a fair proceeding to arrive upon substantial
 6   justice.
 7

 8                                    DEFENDANTS

 9   12.    Hooves Liquor Store of Orange (“HOOVES”) is a specialty
10   liquor store situated next door to Chapman University’s main
11   campus, in the City of Orange California. They offer a wide
12   selection of wines, spirits, beers, mixed-drinks and other
13   beverages with or without alcohol content. Their offering is
14   complemented by all other products that are normally found in a
15   convenient store.

16   13.    A corporation status check with the California Department
17   of Corporations yielded no matches. However, ROBERT will seek
18   leave of court to amend his complaint to insert the precise facts
19   as soon as its corporate name, status and other pertinent
20   information is ascertained.
21   14.    Roberto Gonzales is the evening manager who terminated
22   ROBERT on the evening of 16th of December 2020. Not much is known

23   about him at this moment, except he just recently moved into the

24   Hooves Liquor Store premises recently. However, ROBERT will seek

25   leave of court to amend his complaint to insert the precise facts

26   as soon as pertinent information is ascertained.
27

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 1                              GENERAL ALLEGATIONS

 2   15.    ROBERT incorporates by reference the allegations in all
 3   preceding paragraphs of this complaint as though fully set forth
 4   in this paragraph.
 5   16.    At all times herein mentioned, HOOVES and their agents had
 6   an obligation not to violate any laws of the United States of
 7   America, the State of California including regulations that
 8   govern their respective industry as it specifically applies to

 9   their respective business and industry.
10   17.    At all times herein mentioned, HOOVES and their agents had
11   an obligation to abide by the verbal contract between ROBERT and
12   HOOVES, without any prejudice to either party who have
13   essentially rearranged their lives accordingly based on the
14   agreement.
15

16                              CHRONOLOGY OF EVENTS
17   18.    08/21/18 - ROBERT begins work at Hooves Liquor Store as an
18   evening stocker, earning $10 per hour.
19   19.    09/18/18 - ROBERT moves his ‘90 GMC Suburban at the Hooves
20   Liquor Store parking lot.
21   20.    08/02/19 - ROBERT purchases the ‘98 Toyota Corolla from the
22   nephew of Hooves Liquor Store’s owner.

23   21.    08/05/20 - ROBERT parks his ‘98 Toyota Corolla at the
24   Hooves Liquor Store parking lot.
25   22.    11/XX/20 - ROBERT, in November of 2020, brings to the
26   owner’s attention the unprofessional music being played at
27   the store by GONZALES several times.
28   23.    12/08/20 - ROBERT brings to the owner’s attention the
                                           6
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 1   unprofessional music being played at the store by GONZALES.

 2   ROBERT told the manager that he had to apologize to a mother and
 3   son customer. He replied in an angry tone saying, “You don’t have
 4   any business talking to customers. Just do your job.”
 5   24.    12/XX/20 - ROBERT, in the succeeding days, again told the
 6   manager that the music GONZALES plays at night is, at best
 7   unprofessional and at worst turns customers away. The
 8   owner/manager said that the new generation likes that kind of

 9   music. ROBERT reminded him that young kids also enter the store
10   to buy confections and soda beverages. He took it under
11   advisement but did nothing.
12   25.    12/16/20 - ROBERT has a verbal confrontation with GONZALES,
13   gives him the option to either change the music or fire him.
14   You’re going to have to make a decision, it’s either me or the
15   music. “OK, if you want to go, you can go. GONZALES was not going

16   to change the profanity-laced music, giving ROBERT no other
17   choice.
18   26.    PRESENTLY - ROBERT continues to maintain the parking lot,
19   discarding things that are dumped there and sweeps it at
20   reasonable intervals. He serves as the watchman guarding against
21   illegal activities there.
22   27.    10/05/21 - Approximately 140PM, the owner of Hooves Liquor,

23   came by the parking lot where ROBERT was having lunch and told
24   him to remove his cars on or by Monday the 11th of October or it
25   will be towed.
26
27

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 1                             DISCUSSION & ANALYSIS

 2                THE VERBAL AGREEMENT BETWEEN ROBERT & HOOVES
 3   28.    ROBERT incorporates by reference the allegations in all
 4   preceding paragraphs of this complaint as though fully set forth
 5   in this paragraph.
 6   29.    ROBERT entered into an employment agreement with HOOVES as
 7   a homeless man who lives in a vehicle. On August 21, 2018, he was
 8   shopping at Hooves Liquor Store and he was approached by the

 9   owner/manager who asked him what he does for a living. ROBERT
10   explained that he is an indigent litigator. The owner/manager
11   then asked ROBERT if he can help him in the evenings for a couple
12   of hours, stocking drinks in the cooler.
13   30.    Over time the agreement offered the parties the following
14   provisions:
15      1. ROBERT is to work two hours three evenings per week and get

16         paid $10 per hour.
17      2. ROBERT’s work in the parking lot off-hours is not paid for.
18      3. ROBERT is allowed to park two vehicles, a ‘90 GMC Suburban
19         and a ‘98 Toyota Corolla at the Hooves Liquor Store parking
20         lot.
21      4. ROBERT is allowed to sleep in his vehicle there at night.
22      5. ROBERT is to serve as pseudo-watchman of the property at

23         night.
24      6. ROBERT is to maintain the parking lot, removing weeds and
25         sweeping it at reasonable intervals.
26      7. ROBERT is allowed to store certain things in the parking
27         lot, including a desk and his other personal effects that
28         could not be stored in his vehicles.
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 1      8. ROBERT is to avail of a discount on certain products (i.e. a

 2           gallon of water for $2, normally $3 etc.)
 3      9. HOOVES is to sponsor ROBERT’s 24 Hours of Lemons race team
 4           (‘98 Toyota Corolla).
 5

 6                   THE UNCONSCIONABILITY OF THE AGREEMENT
 7   31.     ROBERT incorporates by reference the allegations in all
 8   preceding paragraphs of this complaint as though fully set forth

 9   in this paragraph.
10   32.     ROBERT represented that he was homeless and may have
11   transmitted a certain desperation. Accordingly, the HOOVES
12   owner/operator offered ROBERT an adhesion contract that was one-
13   sided and violated California labor laws over time as newly
14   introduced legislation increased wages gradually, to no benefit
15   to ROBERT. At the very least HOOVES, was obligated to increase

16   his wages yearly, consistent with passed legislation at the
17   time.
18

19                      VIOLATION OF CALIFORNIA LABOR LAWS
20   33.     ROBERT incorporates by reference the allegations in all
21   preceding paragraphs of this complaint as though fully set forth
22   in this paragraph.

23   34.     In 2018, the minimum wage for companies employing less than
24   25 people was $10.50. In 2019 it went up to $11. Then, in 2020 it
25   went up to $12. These increases happened by operation of law,
26   when then Gov. Edmund Brown signed legislation. (EXHIBIT D).
27   35.     However, ROBERT’s wages did not go up and remained a steady
28   $10 per hour from August 2018 until December 2020. In fact, his
                                           9
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  1   wages were never reported to the EDD (EXHIBIT E), which

  2   essentially excluded him from unemployment benefits immediately
  3   after his termination.
  4

  5                   HARASSMENT AND CONSTRUCTIVE TERMINATION
  6   36.    ROBERT incorporates by reference the allegations in all
  7   preceding paragraphs of this complaint as though fully set forth
  8   in this paragraph.

  9   37.    From the very first day, ROBERT had sensed that GONZALES
 10   was threatened by his employment at HOOVES. He was not even
 11   consulted on ROBERT’s hiring, breaking an unspoken rule being
 12   that he is to be his supervisor.
 13   38.    There was hardly any reason to find fault in ROBERT’s work.
 14   He was only late once in the entire duration of his employment
 15   and always started working a few minutes before his official

 16   start time. He was amiable and very helpful with walk-in clients.
 17   The quality of his work was always beyond reproach.
 18   39.    One of the things that ROBERT did on his own initiative was
 19   remove a fire hazard at the parking lot by clearing boxes stored
 20   beside the parking structure. This infuriated GONZALES because
 21   from that point forward it required the breaking down of boxes
 22   and discarding it in the trash instead of simply tossing

 23   the boxes there to be picked up by an unreliable recycler.
 24   Pictures are attached herewith depicting the before and after,
 25   shown as EXHIBITS F & G respectively.
 26   40.    In one of his retaliatory activities, he placed trash in
 27   front of the trash bin the day before collection. It would be
 28   stacked in such a way that when the trash collector hauls it by
                                           10
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  1   the use of his forked machine, the stacked trash ended up being

  2   strewn on the floor. Because ROBERT was responsible for the
  3   parking lot, he ends up cleaning the mess. (EXHIBIT H) Another
  4   example was moving discarded furniture into the parking lot
  5   instead of the trash bin. (EXHIBIT I).
  6   41.    But, ROBERT never complained about the work, which
  7   infuriated GONZALES more. Determined to have ROBERT either
  8   terminated or for him to quit, GONZALES devised situations that

  9   sought to make ROBERT’s work unbearable. This included installing
 10   a sound system close to where he worked and playing profanity-
 11   laced music that dealt with cesspool experiences of life,
 12   including being demeaning to women.
 13   42.    These are just two examples of excerpted rap lyrics played
 14   that very evening. A more complete list will be uncovered during
 15   discovery and inserted on to the complaint thereon.

 16

 17   (WARNING EXPLICIT LANGUAGE)
 18
      43.   BITCH PLEASE BY SNOOP DOG & XZIBIT
 19
            Come f*ck with a nigga and do it "Doggystyle"
 20         I'll be gentle, sentimental
            Shit, we fucked in the rental Lincoln Continental
 21         Coast-to-coast, L.A. to Chicago
            I get this pussy everywhere that I go
 22         Ask the bitches in your hood cause they know
            Bitch please!
 23         Get down on your god damn knees
            For this money, chronic, clothes and weed
 24         Look, you fuckin with some real O.G's
 25   44.   REAL NIGGA ROLL CALL BY LIL JON & THE EAST SIDE BOYS
 26         Yeah! Right about now (whats up)
            It's time for the real nigga roll call
 27         Now when you hear your city or state being called
            You put your motherfuckin' middle finger up in this bitch
 28         ATL, St. Louis, Alabama, Chicago, The Carolina's, Nap Town
                                       11
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  1         DC, The Bay Area, VA, Miami, New York niggas,
            Texas, you know!
  2         Y'all niggas can't fuck wit my nigga's ho! (pussy nigga)
            Y'all niggas can't fuck wit my nigga's ho! (pussy nigga)
  3

  4   45.    ROBERT was a frequent guest at Chapman University’s library

  5   where he does his pro se legal work. He was concerned that

  6   students and faculty will hear the music while he was on staff

  7   and think of him less, jeopardizing his welcome at the school.

  8

  9                             ECONOMIC INTEREFERENCE

 10   46.    ROBERT incorporates by reference the allegations in all

 11   preceding paragraphs of this complaint as though fully set forth

 12   in this paragraph.

 13   47.    GONZALES had been hell bent on removing ROBERT as a member

 14   of HOOVES’ staff. Without saying it, they simply were too

 15   different in personal choices. Except for that last time when

 16   ROBERT said, “I will see you in court, asshole,” he strives to

 17   remove cursing from his vocabulary. Until then, it was doubtful

 18   that GONZALES ever heard ROBERT use profanity.

 19   48.    GONZALES, in the capacity of management, had an obligation

 20   to make an accommodation for ROBERT. Many rap songs have cleaned-

 21   up versions that pass FCC scrutiny, and are being played by radio

 22   stations. The loudness of the music and the objectionable lyrics

 23   served to harass ROBERT, particularly after voicing his objection

 24   to both GONZALES and the manager/owner of HOOVES.

 25   49.    In failing to make reasonable accommodations and

 26   constructively terminating ROBERT, GONZALES interfered with a

 27   contract that ROBERT had with HOOVES to an extent that he was not

 28   able to avail of its benefits.
                                           12
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  1                MALICIOUS, OPPRESSIVE AND FRAUDULENT CONDUCT

  2   50.    ROBERT incorporates by reference the allegations in all
  3   preceding paragraphs of this complaint as though fully set forth
  4   in this paragraph.
  5   51.    GONZALES’ dislike of ROBERT had been apparent from the
  6   beginning, after the owner/manager hired him without as much as a
  7   ceremonial conversation. One evening GONZALES showed up at work
  8   and there was ROBERT who appeared, in GONZALES’ mind, to be

  9   poised to take his job of stocking coolers.
 10   52.    GONAZALES made ROBERT’s job more complicated than it had to
 11   be, introducing projects that ate into ROBERT’s 2-hour stocking
 12   shift. It was calculated to prevent ROBERT from finishing his
 13   work of stocking up the coolers.
 14   53.    For instance, a black-water plumbing problem during the day
 15   was left for ROBERT to deal with ensuring that the work of

 16   stocking would not be finished for the next day’s shift. There
 17   were numerous micro-events such as these, which will be added to
 18   the First Amended Complaint complete with pictures after the
 19   first round of discoveries.
 20   54.    Nevertheless, ROBERT persevered, finishing his work and the
 21   made-up projects. This took away the opportunity for GONZALES to
 22   complain about his work.

 23   55.    His final ploy to remove ROBERT came by the way of the
 24   installed speakers and the profanity-laced music that was so
 25   objectionable, something had to give. All such events that were
 26   detrimental to ROBERT was calculated and committed with
 27   deliberate indifference.
 28
                                           13
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  1                        EXTREME AND OUTRAGEOUS CONDUCT

  2   56.    ROBERT incorporates by reference the allegations in all
  3   preceding paragraphs of this complaint as though fully set forth
  4   in this paragraph.
  5   57.    The California Supreme Court codified when extreme and
  6   outrageous conduct exists, holding:
  7
            “A cause of action for intentional infliction of emotional
  8         distress exists when there is "`"`(1) extreme and outrageous
            conduct by the defendant with the intention of causing, or
  9         reckless disregard of the probability of causing, emotional
            distress; (2) the plaintiff's suffering severe or extreme
 10         emotional distress; and (3) actual and proximate causation
            of the emotional distress by the defendant's outrageous
 11         conduct.'"'" (Potter v. Firestone Tire & Rubber Co. (1993) 6
            Cal.4th 965, 1001 [25 Cal.Rptr.2d 550, 863 P.2d 795]; see
 12         Christensen v. Superior Court (1991) 54 Cal.3d 868, 903 [2
            Cal.Rptr.2d 79, 820 P.2d 181].) A defendant's conduct is
 13         "outrageous" when it is so "`"extreme as to exceed all
            bounds of that usually tolerated in a civilized
 14         community."'" (Potter, at p. 1001.) And the defendant's
            conduct must be "`"intended to inflict injury or engaged in
 15         with the realization that injury will result."'" (Ibid.)
            (Hughes v. Pair, 209 P. 3d 963 - Cal: Supreme Court 2009 at
 16         1051)
 17

 18   58.    ROBERT’s homelessness was obvious to DEFENDANTS. They see
 19   him at the HOOVES parking lot almost every day. They are also
 20   aware of ROBERT’s continued struggle to get his vehicles road
 21   worthy. They are also aware that if ROBERT moves any of his
 22   vehicles off a private lot to the public roads, they will

 23   be towed, and he will be required to sleep on the streets.
 24   59.    That is exactly the result that they are seeking.
 25   60.    The possibility of ROBERT losing his vehicles and his
 26   evening shelter will most certainly require him to lose
 27   everything he owns and sleep on the streets. DEFENDANT HOOVES’
 28   and GONZALES’ actions are extreme and outrageous conduct that
                                           14
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  1   caused ROBERT severe physical, emotional and psychological

  2   pain.
  3

  4                          INVOCATION OF 42 USC § 1981
  5   61.      ROBERT invokes the power of this court to force DEFENDANT
  6   to perform or modify the agreement on this complaint hereon,
  7   consistent with the court’s finding of whether ROBERT has the
  8   right to demand a decent work environment. 42 USC § 1981(b)

  9   provides in relevant parts:
 10           (b)“Make and enforce contracts” defined
              For purposes of this section, the term “make and enforce
 11           contracts” includes the making, performance, modification,
              and termination of contracts, and the enjoyment of all
 12           benefits, privileges, terms, and conditions of the
              contractual relationship.
 13

 14
                  CAUSES OF ACTION AS AGAINST DEFENDANT GONZALES
 15
                                       COUNT ONE
 16
                                      (Harassment)
 17
      62.     ROBERT incorporates by reference the allegations in all
 18
      preceding paragraphs of this complaint as though fully set forth
 19
      in this paragraph.
 20
      63.     ROBERT claims that he was subjected to harassment based on
 21
      his age and relative personal preferences at HOOVES and that this
 22
      harassment created a work environment that was hostile,
 23
      intimidating, offensive, oppressive, or abusive.
 24
      64.     To establish this claim, ROBERT will prove that this
 25
      harassment created a work environment that was hostile,
 26
      intimidating, offensive, oppressive, or abusive.
 27
         1. That ROBERT was a person providing services under a contract
 28
                                           15
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  1         with HOOVES;

  2      2. That ROBERT was subjected to harassing conduct because he
  3         was of a certain age with certain traditional sensibilities;
  4      3. That the harassing conduct by GONZALES was severe
  5         and pervasive;
  6      4. That a reasonable person in ROBERT’s circumstances would
  7         have considered the work environment to be hostile,
  8         intimidating, offensive, oppressive or abusive;

  9      5. That ROBERT considered the work environment to be hostile,
 10         intimidating, offensive, oppressive, or abusive;
 11      6. That GONZALES, ROBERT’s supervisor, engaged in the conduct
 12         with the approval of the owner/operator;
 13      7. That ROBERT’s management knew or should have known of the
 14         conduct and failed to take immediate and appropriate
 15         corrective action;

 16      8. That ROBERT was harmed; and
 17      9. That the conduct was a substantial factor in causing
 18         ROBERT’s harm.
 19

 20                                    COUNT TWO
 21           (Intentional Interference With Contractual Relations)
 22   65.    ROBERT incorporates by reference the allegations in all

 23   preceding paragraphs of this complaint as though fully set forth
 24   in this paragraph.
 25   66.    ROBERT claims that GONZALES intentionally interfered with
 26   the contract between ROBERT and HOOVES. To establish this claim,
 27   ROEBRT will prove all of the following:
 28         1. That there was a contract between ROBERT and HOOVES;
                                           16
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  1         2. That GONZALES knew of the contract;

  2         3. That GONZALES’ conduct prevented performance or made
  3            performance more expensive or difficult;
  4         4. That GONZALES intended to disrupt the performance of
  5            ROBERT’s work and knew that disruption of his performance
  6            was certain or substantially certain to occur;
  7         5. That ROBERT was harmed; and
  8         6. That GONZALES’ conduct was a substantial factor in

  9            causing ROBERT’s harm.
 10

 11                 CAUSE OF ACTION AS AGAINST DEFENDANT HOOVES
 12                                   COUNT THREE
 13                              (Breach of Contract)
 14   67.    ROBERT incorporates by reference the allegations in all
 15   preceding paragraphs of this complaint as though fully set forth

 16   in this paragraph.
 17   68.    To recover damages from HOOVES for breach of contract,
 18   ROBERT must prove all of the following:
 19      1. That ROBERT and HOOVES entered into a contract;
 20      2. That ROBERT did all, or substantially all, of the
 21         significant things that the contract required him to do;
 22      3. That HOOVES failed to create and maintain a work environment

 23         that was free from hostility, intimidation, offensiveness,
 24         oppressiveness, or abuse.
 25      4. That ROBERT was harmed; and
 26      5. That HOOVES’     breach of contract was a substantial factor in
 27         causing ROBERT’s harm
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  1                                    COUNT FOUR

  2         (Breach of Implied Covenant of Good Faith and Fair Dealing)
  3   69.     ROBERT incorporates by reference the allegations in all
  4   preceding paragraphs of this complaint as though fully set forth
  5   in this paragraph.
  6   70.     In every employment contract and agreement there is an
  7   implied promise of good faith and fair dealing. This implied
  8   promise means that neither the employer nor the employee will do

  9   anything to unfairly interfere with the right of the other to
 10   receive the benefits of the employment relationship. Good faith
 11   means honesty of purpose without any intention to mislead or to
 12   take unfair advantage of another. Generally speaking, it means
 13   being faithful to one’s duty or obligation. However, the implied
 14   promise of good faith and fair dealing cannot create obligations
 15   that are inconsistent with the terms of the contract.

 16   70.     ROBERT claims that HOOVES violated the duty implied in
 17   their employment agreement to act fairly and in good faith. To
 18   establish this claim, ROBERT will prove all of the following:
 19      1. That ROBERT and HOOVES entered into an
 20          employment relationship;
 21      2. That ROBERT substantially performed his job duties as
 22          prescribed by the agreement;

 23      3. That all conditions required for HOOVES’s performance were
 24          not performed;
 25      4. That HOOVES’ refusal to create a work environment that was
 26          free from free from hostility, intimidation, offensiveness,
 27          oppressiveness, or abuse prevented ROBERT from receiving the
 28          benefits under the agreement;
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  1      5. That by doing so, HOOVES did not act fairly and in good

  2         faith; and
  3      6. That ROBERT was harmed by HOOVES’ conduct.
  4

  5                                    COUNT FIVE
  6               (Intentional Infliction of Emotional Distress)
  7   71.    ROBERT incorporates by reference the allegations in all
  8   preceding paragraphs of this complaint as though fully set forth

  9   in this paragraph.
 10

 11   72.    ROBERT claims that HOOVES’ conduct caused him to suffer
 12   severe emotional distress. To establish this claim, ROBERT will
 13   prove all of the following:
 14      1. That HOOVES’ conduct was outrageous;
 15      2. That HOOVES intended to cause ROBERT emotional distress;

 16      3. That ROBERT suffered severe emotional distress; and
 17      4. That HOOVES’ conduct meant to cause sleeping on the street
 18         was a substantial factor in causing ROBERT’s severe
 19         emotional distress
 20

 21                               REQUEST FOR RELIEF
 22   73.    WHEREFORE, Plaintiff requests judgment against Defendants,

 23   as set forth herein below.
 24      a) Enter a preliminary injunction prohibiting the moving,
 25         transferring or towing of ROBERT’s vehicle parked in HOOVES’
 26         parking lot situated in 493 N Glassell St, Orange, CA 92866.
 27         This will include: a ‘90 GMC Suburban and ‘98 Toyota Corolla
 28         owned by ROBERT.
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  1      b) Enter an order for an accommodation of ROBERT’s

  2         vehicles/shelter to remain on the parking lot for a
  3         reasonable period of time or for as long as this case is
  4         being deliberated.
  5      c) Pursuant to the Counts 1,2,3,4,5 grant compensatory
  6         penalties according to proof;
  7      d) Pursuant to California Civil Code §3294, grant punitive
  8         damages according to proof;

  9      e) Enter such orders required to restore money and/or property,
 10         which may have been lost or displaced by means of these
 11         unlawful acts, as provided in Title 16 of the California
 12         Code of Regulations and other applicable laws;
 13      f) Award Plaintiff his costs of suit;
 14      g) Grant such other and further relief as the Court deems just
 15         and proper.

 16

 17                             DEMAND FOR JURY TRIAL
 18   74.    ROBERT hereby demand a trial by jury in this action.
 19

 20   Respectfully submitted,
 21   Dated: October 6, 2021
 22

 23   /s/ Robert Lacambra
 24   ROBERT LACAMBRA - Plaintiff, In Pro Per
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  1                                   VERIFICATION

  2         I, Robert Lacambra, am the Plaintiff in the above-entitled
  3   action. I have read the foregoing "Verified Complaint" and know
  4   the contents thereof. The same is true of my own knowledge,
  5   except as to those matters which are therein alleged on
  6   information and belief, and as to those matters, I believe it to
  7   be true.
  8         I declare under penalty of perjury under the laws of the

  9   United States of America that the foregoing is true and correct
 10   and that this declaration was executed at the City of Orange,
 11   California.
 12

 13   Dated:     October 6, 2021
 14

 15

 16   /s/ Robert Lacambra
 17   ROBERT LACAMBRA - Plaintiff, In Pro Per
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